Case 1:05-cr-10042-.]DT Document 10 Filed 07/18/05 Page 1 of 2 Page|D 10

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v. Cr. NO. 05-10042-T

 

UN|TED STATES OF A|VIERICA,

LARRY JONES,

Defendant.

 

ORDER ON ARRA|GNN|ENT

 

This cause came to be heard on Ju|y 18, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAl\/IE: Dianne Smothers
ADDRESS:

TELEPHONE:

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

A|I motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.

1/ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA 0 1984), is remanded to the custody ofthe

 

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S. THO|V|AS ANDERSON
United States l\/|agistrate Judge
Charges: possession with intent to distribute cocaine base

Assistant U.S. Attorney assigned to case: Kitchen

Ru|e 32 was not waived

Defendant's age: q'&

This document entered on the docket sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10042 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

